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                                                            U.S. Department of Justice

                                                            Channing D. Phillips
                                                            Acting United States Attorney

                                                            District of Columbia


                                                            Judiciary Center
                                                            555 Fourth St., N.W.
                                                            Washington, D.C. 20530


                                                          May 27, 2021

    VIA E-MAIL

    Scott C. Williams, Esq.
    43 East 400 South
    Salt Lake City, Utah 84111
    scwlegal@gmail.com


           Re:      United States v. Michael Lee Hardin
                    Case No. 21-CR-280 (TJK)

    Dear Counsel:

             This letter serves to memorialize the preliminary discovery, provided to you via USAfx
    on May 21, 2021 and May 25, 2021. Although you may review the entire discovery on the
    shared drive, in order to retain access to the discovery, you must download it immediately. If
    you have any questions regarding the provided discovery or are missing something, feel free to
    call or email me. Please note that this discovery includes protective-order materials, which have
    been marked as “Highly Sensitive” and saved in a separate folder on the shared drive.

           The preliminary discovery available to you via USAfx contains the following materials:

                     FILE NAME                                                       DESCRIPTION
266T-SU-3382914_0000001.pdf                                        Case Opening
266T-SU-3382914-GJ_0000001.pdf                                     Subfile Opening Document
266T-SU-3382914_0000002.pdf                                        [PROTECT IDENTITY] Witness
                                                                   Interview - HIGHLY SENSITIVE
266T-SU-3382914_0000002_1A0008930_0000001.jpg                      Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000002.jpg                      Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000003.jpg                      Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000004.jpg                      Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000005.jpg                      Image Provided by Witness
           Case 1:21-cr-00280-TJK Document 13-1 Filed 05/27/21 Page 2 of 5




266T-SU-3382914_0000002_1A0008930_0000006.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000007.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000008.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000009.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000010.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000011.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000012.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000013.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000014.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000015.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000016.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000017.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000018.jpg       Image Provided by Witness
266T-SU-3382914_0000002_1A0008930_0000019.jpg       Image Provided by Witness
266T-SU-3382914-GJ_0000002.pdf                      302 re: T-Mobile Subpoena
266T-SU-3382914-GJ_0000002_1A0000001_0000001.pdf    T-Mobile Subpoena
266T-SU-3382914_0000003.pdf                         Michael Hardin Identifiers
266T-SU-3382914_0000003_1A0000001_0000002.pdf       Hardin CLEAR Report
266T-SU-3382914_0000003_1A0000001_0000003.pdf       Hardin Utah Driver’s License
266T-SU-3382914_0000003_1A0000001_0000004.pdf       Hardin Criminal History Record
266T-SU-3382914_0000003_1A0000001_0000005.pdf       Hardin Utah Corrections Report
266T-SU-3382914_0000003_1A0000001_0000006.pdf       Hardin Warrants Check
266T-SU-3382914-GJ_0000003.pdf                      302 re: Google Subpoena
266T-SU-3382914-GJ_0000003_1A0000002_0000001.pdf    Google Subpoena
266T-SU-3382914_0000004.pdf                         Google Location Search
266T-SU-3382914-GJ_0000004.pdf                      302 re: Google subpoena return
266T-SU-3382914-GJ_0000004_1A0000003_0000001.zip    Google subpoena return
266T-SU-3382914-GJ_0000004_1A0000004_0000001.pdf    Google certificate of authenticity
266T-SU-3382914_0000005.pdf                         302 re: T-Mobile preservation request
266T-SU-3382914_0000005_1A0000002_0000001.pdf       T-Mobile preservation request
266T-SU-3382914_0000006.pdf                         Anonymous tip re: Hardin
266T-SU-3382914_0000007.pdf                         [PROTECT IDENTITY] tip re: Hardin
266T-SU-3382914_0000008.pdf                         [PROTECT IDENTITY] Witness
                                                    Interview - HIGHLY SENSITIVE
266T-SU-3382914_0000008_1A0000003_0000001.jpeg      Text Screenshots Provided by Witness
266T-SU-3382914_0000008_1A0000003_0000002.jpeg      Text Screenshots Provided by Witness
266T-SU-3382914_0000008_1A0000003_0000003.jpeg      Text Screenshots Provided by Witness
266T-SU-3382914_0000009.pdf                         302 re: Physical Surveillance of Hardin
                                                    Residence
266T-SU-3382914_0000010.pdf                         [PROTECT IDENTITY] Witness
                                                    Interview Notes



                                           2
           Case 1:21-cr-00280-TJK Document 13-1 Filed 05/27/21 Page 3 of 5




266T-SU-                                            Physical 1A/1C Cover Sheet for
3382914_0000010_1A0000004_0000001_PHYSICAL.pdf      [PROTECT IDENTITY] Witness
                                                    Interview Notes
266T-SU-3382914_0000011.pdf                         302 re: T-Mobile SW
266T-SU-3382914_0000011_1A0000005_0000001.pdf       T-Mobile SW 2705(b) NDO
266T-SU-3382914_0000011_1A0000005_0000002.pdf       T-Mobile SW
266T-SU-3382914_0000012.pdf                         State Records for Hardin’s Residential
                                                    Address
266T-SU-3382914_0000012_1A0000006_0000001.pdf       MK Hardin LLC Application
266T-SU-3382914_0000012_1A0000006_0000002.pdf       Hardin Wage Search
266T-SU-3382914_0000012_1A0000006_0000003.pdf       Registered Principal Search
266T-SU-3382914_0000012_1A0000006_0000004.pdf       TLO Report
266T-SU-3382914_0000012_1A0000006_0000005.pdf       MK Hardin LLC
266T-SU-3382914_0000012_1A0000006_0000006.pdf       BPS Search
266T-SU-3382914_0000013.pdf                         302 re: TTK Results
266T-SU-3382914_0000013_1A0000007_0000001.pdf       Hardin TTK Report
266T-SU-3382914_0000013_1A0000007_0000002.pdf       Hardin TTK Report
266T-SU-3382914_0000014.pdf                         302 re: Physical Surveillance of Hardin
                                                    Residence
266T-SU-3382914_0000015.pdf                         302 re: Physical Surveillance of Hardin
                                                    Residence
266T-SU-3382914_0000015_1A0000008_0000001.pdf       Hardin DMV Records
266T-SU-3382914_0000016.pdf                         302 re: Physical Surveillance of Hardin
                                                    Residence
266T-SU-3382914_0000017.pdf                         302 re: Physical Surveillance of Hardin
                                                    Residence
266T-SU-3382914_0000018.pdf                         Signed Complaint, Order, and Warrant
266T-SU-3382914_0000018_1A0000009_0000001.pdf       Complaint (Redacted)
266T-SU-3382914_0000018_1A0000009_0000002.pdf       Statement of Facts
266T-SU-3382914_0000018_1A0000009_0000003.pdf       Sealing Order
266T-SU-3382914_0000018_1A0000009_0000004.pdf       Complaint
266T-SU-3382914_0000018_1A0000009_0000005.pdf       Arrest Warrant
266T-SU-3382914_0000019.pdf                         Evidence Entry re: Items Seized from
                                                    Hardin Residence
266T-SU-3382914_0000021.pdf                         302 re: Keesha Hardin Interview
266T-SU-3382914_0000022.pdf                         302 re: Arrest of Hardin, Transport, and
                                                    Initial Appearance
266T-SU-3382914_0000023.pdf                         302 re: Execution of SW at Hardin
                                                    Residence
266T-SU-3382914_0000023_1A0000010_0000001.pdf       SW Evidence Collected Item Log
266T-SU-3382914_0000023_1A0000010_0000002.pdf       SW Administrative Worksheet
266T-SU-3382914_0000023_1A0000010_0000003.pdf       SW Crime Scene Sign-In Log
266T-SU-3382914_0000023_1A0000010_0000004.pdf       SW Diagram/Sketch of Hardin Residence

                                           3
            Case 1:21-cr-00280-TJK Document 13-1 Filed 05/27/21 Page 4 of 5




266T-SU-3382914_0000023_1A0000010_0000005.pdf        Receipt for Property
266T-SU-3382914_0000024.pdf                          [PROTECT IDENTITY] Witness
                                                     Interview
266T-SU-3382914_0000025.pdf                          Electronic Devices Taken to RCFL
266T-SU-3382914_0000025_1A0000011_0000001.pdf        RCFL Evidence Receipt
266T-SU-3382914_0000026.pdf                          Documenting copies of photographs taken
266T-SU-3382914_0000026_Import.pdf                   Photographic Log
266T-SU-3382914_0000027.pdf                          Documenting T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000001.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000002.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000003.xls        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000004.htm        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000005.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000006.xls        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000007.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000008.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000009.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000010.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000011.html       T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000012.pdf        T-Mobile SW Return
266T-SU-3382914_0000027_1A0000012_0000013.pdf        T-Mobile SW Return
266T-SU-3382914_0000028.pdf                          TTK Review - Public Tip
266T-SU-3382914_0000028_1A0000001_0000001.pdf        TTK Report
266T-SU-3382914_0000029.pdf                          TTK Review - Public Tip
266T-SU-3382914_0000029_1A0000002_0000001.pdf        TTK Report
266T-SU-3382914_0000030.pdf                          TTK Review - Public Tip
266T-SU-3382914_0000030_1A0000003_0000001.pdf        TTK Report
266T-SU-3382914_0000031.pdf                          Documenting SBI Agent Nesbitt Police
                                                     Report
266T-SU-3382914_0000031_Import.pdf                   SBI Agent Nesbitt Police Report re:
                                                     Execution of SW at Hardin Residence
266T-SU-3382914_0000032.pdf                          Documenting SBI Agent Bohman Police
                                                     Report
266T-SU-3382914_0000032_Import.pdf                   SBI Agent Bohman Police Report re:
                                                     Execution of SW at Hardin Residence
266T-SU-3382914_0000034.pdf                          Documenting SBI Agent Faumuina Police
                                                     Report
266T-SU-3382914_0000034_Import.pdf                   SBI Agent Faumuina Police Repot re:
                                                     Execution of SW at Hardin Residence
266T-SU-3382914_0000035.pdf                          Disruption 1057
266T-SU-3382914_0000036.pdf                          Attaching Digital [PROTECT
                                                     IDENTITY] Interview Notes to Serials 2
                                                     and 10
                                           4
             Case 1:21-cr-00280-TJK Document 13-1 Filed 05/27/21 Page 5 of 5




266T-SU-3382914_0000036_1A0000013_0000001.pdf                     [PROTECT IDENTITY] Handwritten
                                                                  Interview Notes
266T-SU-3382914_0000037.pdf                                       Documenting Accurint Report
266T-SU-3382914_0000037_1A0000014_0000001.pdf                     Hardin Accurint Report

            Due to the extraordinary nature of the January 6, 2021 Capitol Attack, the government
    anticipates that a large volume of materials may contain information relevant to this prosecution.
    These materials may include, but are not limited to, surveillance video, statements of similarly
    situated defendants, forensic searches of electronic devices and social media accounts of
    similarly situated defendants, and citizen tips. The government is working to develop a system
    that will facilitate access to these materials. In the meantime, please let me know if there are any
    categories of information that you believe are particularly relevant to your client.

           The discovery is unencrypted. Please contact me if you have any issues accessing the
    information, and to confer regarding pretrial discovery as provided in Fed. R. Crim. P. 16.1.

             I recognize the government’s discovery obligations under Brady v. Maryland, 373 U.S.
    83 (1963), its progeny, and Rule 16. I will provide timely disclosure if any such material comes
    to light. Consistent with Giglio, Ruiz, and 18 U.S.C. § 3500, I will provide information about
    government witnesses prior to trial and in compliance with the court’s trial management order.

            I request reciprocal discovery to the fullest extent provided by Rule 16 of the Federal
    Rules of Criminal Procedure, including results or reports of any physical or mental examinations,
    or scientific tests or experiments, and any expert witness summaries. I also request that
    defendant(s) disclose prior statements of any witnesses defendant(s) intends to call to testify at
    any hearing or trial. See Fed. R. Crim. P. 26.2; United States v. Nobles, 422 U.S. 255 (1975). I
    request that such material be provided on the same basis upon which the government will
    provide defendant(s) with materials relating to government witnesses.

            Additionally, pursuant to Federal Rules of Criminal Procedure 12.1, 12.2, and 12.3, I
    request that defendant(s) provide the government with the appropriate written notice if
    defendant(s) plans to use one of the defenses referenced in those rules. Please provide any notice
    within the time period required by the Rules or allowed by the Court for the filing of any pretrial
    motions.

            I will forward additional discovery as it becomes available. If you have any questions,
    please feel free to contact me.

                                                          Sincerely,



                                                          HAVA MIRELL
                                                          Assistant United States Attorney

                                                     5
